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             SUPREME COURT STATE OF NEW YORK
          ' COUNTY OF ONEIDA

            IN THE MATTER OF THE FORECLOSURE OF TAX LIENS BY                                  JUDGEMENT AND
            PROCEEDING IN REM PURSUANTTO ARTICLE ELEVEN OF                                    ORDER FOR
            THE REAL PROPERTY TAX LAW By THE CITY OF UTICA                                    FORECLOSURE BY
                                                                                            . DEFAULT

            V.


             ROBERT SCHRAM •
             1112 STARK STREET, UTICA, NEW YORK (TPN-3.18.47-2-13)
             AND
           . ROBERT W. SCHRAM, JR.
            1119 STARK STREET, UTICA, NEW YORK (TPN 318,48-1-72)                             INDEX:
                                                                                             EFCA2019-001628
                                                                                             JUDGE MURAD



            UPON the Notice of Motion and Ex-Parte Application for Foreclosure by Default dated November 17,
            2021; the Affidavit of Regularity of William C. Morehouse, Comptroller of the City of Utica, sworn to on
            November 19,2021, with Schedules A-C submitted therewith; and the supporting Affidavit of Merima
            Smajic, Assistant Corporation Counsel for the City of Utica sworn to on November 19 2021. said 'nation
            havina been heard on submission on February 73, 2022, and certain properties, ai set tartruon scnedule C
            to the Judgment and Order for Foreclosure by Default dated March 4, 2022, having been severed and
            tolled Sugipct to conferencing under AO/35/22 due to the owner(s) having submitted a Hardship Declaration,
            and the Cburt having conducted settlement conferencing on the Schedule C properties on March 31, 20.22,
            and Counsel for Petitioner having appeared via TEAMS and Respondent Robert Schram also known as Robert
            W. Schram Jr., having aprared .pro se, via phone, it is hereby
                         that theacg4UoticraedivevcvaltOscoassess ot
            ORDERED,                                              aSTARK STREET, UTICA.1144Wia,K
                                                            tedtilllI
            Tax Parcel ID, 318.47-2-13 AND 1119 STARK STREET; UTICA, NEW YORK, Tax Parcel ID.
            318.48-1-72, and it is further

            ORDERED, that Respondent(s) having.filed a Declaration of Hardship as per the COVID-19 Emergency
                                                                   the Court '
            Eviction and Foreclosure Prevention Act (CEEFPA), anckiaving conferenced the matter WittPbOttax4itititvs
                                                                            in consented to foreclosur there is
                                                         ° eitUr
            on March 31, 2022 as per AO/35/22, and the Igo&       lagt-ttil                            q'
                                                                          oatardttiptectiketandeckitttionea    x
            no further i ediment to:rkfittgtjgng,tal.cep, and it is'further
            mates=                                woualtuttaakys
                                                                                       •
            ORDERED, that the City of Utica is awarded possession of every parcel of land described herein, not
            heretofore re4eemed or withdrawn and as to which no Answer has been interposed, takthemxiamiateidx
            itexeitylgyniereticec and all items of personal property thereon the premises deemed abandoned to the
            City of Utica, and the Utica City Comptroller, William C. Morehouse, the Tax Lien Enforcement Office
            of the City of Utica is hereby directed to make,' execute and cause to be recorded a Deed or Deeds




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            conveying to said City of Utica full and complete title to said parcels of land in fee simple absolute, free
            and clear of all liens and encumbrances pursuant to Real Property Tax Law Section 1136, and it is further,



            ORDERED, that upon the Deed hereinbefore directed the City of Utica shall be seized of an estate in fee
            absolute free and clear of all liens and encumbrances of those parcels of land herein described pursuant
            to Article 11 of the Real Property Tax Law and seized of all items of personal property thereon, deemed
            abandoned to the City of Utica, all persons including the People of the State of New York and the United
            States of America, infants, incompetents, absentees and non-residents and non-residents who may have
            had any right, title, interest, clairn, lien or equity of redemption in or upon such properties shall be barred
            and forever foreclosed i of such right, title, interest, claim, lien or equity of redemption, and it is further,



            ORDERED, that, notwithstanding the above, any subsequent conveyance of the property acquired by the
            City of Utica pursuant to this Judgment and Order shall be subject to the lien and conditions of a mutual
            agreement between the City of Utica and County of Oneida or by further order of this Court.




            Dates: April    S         2022




                                                                                        PIL411614
            ENTER.
            Utica, New York
                                                                                  Honorable David A. Murad
                                                                                  Supreme Court Justice




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